Case 1:20-cr-00010-RJS-DAO Document 46 Filed 12/10/20 PageID.131 Page 1 of 2




DARYL P. SAM (8276)
Daryl P. Sam, PLLC
5955 South Redwood Road, Suite 102
Salt Lake City, Utah, 84123
Telephone: (801) 506-6767
Fax: (801) 386-5476
Email: daryl.sam@gmail.com

Attorney for Defendant Steven Deleon
______________________________________________________________________________

                     IN THE UNITED STATES DISTRICT COURT
                     DISTRICT OF UTAH, NORTHERN DIVISION


                                                      MOTION TO WITHDRAW AS
 UNITED STATES OF AMERICA
                                                      COUNSEL FOR DEFENDANT
               Plaintiff,

 v.
                                                       Case No. 1:20-CR-00010-RJS
 STEVEN DELEON,
                                                    Magistrate Judge Daphne Oberg
                                                  District Court Judge Robert J. Shelby
               Defendant.


       Daryl P. Sam, attorney for the Defendant, and pursuant to DUCivR 83-1.4, hereby moves

to withdraw as counsel for Defendant Steven Deleon.


       Steven Deleon
       c/o Weber County Jail
       P.O. Box 14000
       Ogden, UT 84112


       The Defendant has spoken to counsel and expressed his need and desire to have a new

attorney appointed to him. The reason for the withdrawal is a breakdown of communication

                                              1
Case 1:20-cr-00010-RJS-DAO Document 46 Filed 12/10/20 PageID.132 Page 2 of 2




between Counsel and the Defendant. Under the circumstances, Counsel cannot adequately

defend this Defendant.

       The current status of the case is as follows: Mr. Deleon is the only defendant named in

this case. Trial is set for February 9, 2021 for a three day trial. There are no pending motions

before the Court.

       DATED this 10th day of December, 2020.



                                                       /s/ Daryl P. Sam
                                                       Daryl P. Sam
                                                       Attorney for Defendant

                                 CERTIFICATE OF SERVICE


         I hereby certify that on December 10, 2020, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF electronic filing system which sent notification of such filing
to all counsel on record.

And by U.S. Mail to the following:

       Steven Deleon
       c/o Weber County Jail
       P.O. Box 14000
       Ogden, UT 84112


                                                                  /s/ Daryl P. Sam




                                                 2
